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                               UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA



In Re: Oil Spill by the Oil Rig                  *    MDL 2179
                                                 *
“DEEPWATER HORIZON” in the                       *    SECTION J(2)

Gulf of Mexico on April, 20, 2010                *    JUDGE BARBIER
                                                 *
This Document Applies to:                        *    MAGISTRATE JUDGE WILKINSON
No. 12-179 c/w 12-259                            *
                                                 *

*    *    *    *   *   *   *     *   *   *   *   *   *   *   *    *     *   *   *   *   *   *   *

                                     NOTICE OF SUBMISSION

         PLEASE TAKE NOTICE that defendant, EPIC Diving & Marine Services, LLC

(“EPIC”), through undersigned counsel, will bring its Motion to Dismiss Pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure before the Honorable Magistrate Judge Joseph

C. Wilkinson, Jr., United States District Court for the Eastern District of Louisiana, 500 Poydras

Street, New Orleans, Louisiana, on March 21, 2012 at 11:00 a.m. on the basis of the record and

without oral argument unless otherwise ordered by the Court.

                                              Respectfully submitted,

                                              /s/ Brett S. Venn
                                              GRADY S. HURLEY (La. No. 13913)
                                              BRETT S. VENN (La. No. 32954)
                                              Jones, Walker, Waechter,
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                                              Attorneys for EPIC Diving & Marine Services,
                                              LLC


{N2428087.1}                                     1
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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 5, 2012, a copy of the foregoing pleading was

forwarded to all counsel of record via CM/ECF.

                                           /s/ Brett S. Venn




{N2428087.1}                                     2
